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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


United States of America,

              Plaintiff,
v.                                            Case No. 19–cr–20425
                                              HON. BERNARD A. FRIEDMAN

Mario Jackson,

              Defendant.
     ______________________________________________________________

                 Defendant’s Motion for an Order to Show Cause

        Defendant moves this Honorable Court, pursuant to Fed. R. Crim. P. 17(g),

for an Order to Show Cause why nonparty T-Mobile should not be held in

contempt for failing to produces documents in compliance with a subpoena issued

by this Court.

        Respectfully submitted,
                                              Dated: March 9, 2023
        /s/Mark H. Magidson
        MARK H. MAGIDSON(P25581)
        Attorney for Defendant
        The David Whitney Building
        One Park Avenue, Suite 1207
        Detroit, MI 48226
        (313) 963-4311
        mmag100@aol.com



                                  Brief in Support of


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              Defendant’s Motion for an Order to Show Cause


                                      Facts

      The defense sought and obtained a subpoena, dated February 18, 2023,

directed to T-Mobile to produce the following documents related to Defendant

Jackson’s cell phone number:

      1.   Copies of any legal demands from law enforcement relating to target
      number (313) 742-1482. (Search Warrants, Court Order(s) and/or Title III
      Orders utilized to obtain information relating to this number)

      2.     Copies of any emails, or phone correspondence logs, relating to target
      number (313) 742-1482, along with names of law enforcement officer in
      communication with T-Mobile and identity of T-Mobile legal compliance, or
      interceptions, expert assisting with providing records.

      3.     Copies of any/all subscriber information pertaining to target number
      (313) 742-1482, along with applicable legal demand to obtain such
      information (pursuant to a search warrant, court order or Title III order)

      4.    Copies of any call detail records (CDRs) for target number (313)
      742-1482, along with applicable legal demand to obtain such information
      (pursuant to a search warrant, court order or Title III order).

      5.     Government discloses there were 18 contacts with a separate active
      Title III Wire Intercept involving target number (313) 742-1482 months
      before any robberies. Request T-Mobile provide any identifying
      information, copies of any CDRs, email of fax correspondence between law
      enforcement and T-Mobile Interception Specialist relating to this Title III
      intercept and the 18 contacts involving (313) 742-1482.

      6.    Copies of any certifications and legends (Keys) provided to law
      enforcement for target number (313) 742-1482.




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      7.     If records are not located by T-Mobile, request copies of any purging
      authority and/or retention mandates, including any explanations why records
      relating to (313) 742-1482 are not available.


      The subpoena was served on February 18, 2023, by U.S. mail, certified

signed return receipt, to John Jezek, a T-Mobile Subpoena Compliance Specialist.

      Rather than filing a motion to quash or modify the subpoena under Fed. R.

Crim. P. 17(c)(2), T-Mobile responded by only producing Jackson’s subscriber

information and a document for interpreting T-Mobile’s records, generally. T-

Mobile also objected to the subpoena by stating that

      [i]n regard to identifier(s) 3137421482, The legal demand does not include a
      date range. Subscriber information for the issue date has been provided. If
      additional information is required, please resubmit the demand to include a
      reasonable date range. [Exhibit A – T-Mobile Objection.]


      On March 6, 2023, defense counsel sent a clarifying email to T-Mobile:

      To be clear, we are seeking the same material that was provided to the
      Government.

      With regards to the date ranges, there were 18 contacts with Jackson’s phone
      with another FBI-OCGVCTF investigation from 09/10/2018 through
      10/15/2018. We requested any/all data provided to LE from this separate
      Title III investigation, which was prior to the armed robberies.

      The date ranges from the Governments warrants span from 11/25/2018
      through 12/29/2018…the tower dump warrant was signed on, or about,
      01/09/2019.

      The second warrant dated 04/24/2019, signed by Christopher McClain, was
      served on T-Mobile. T-Mobile provided the Government a response to
      both of these warrants. [Exhibit B – Defense Email.]


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      T-Mobile has still refused to comply with the subpoena and produce the

requested records.


                                      Argument

      Federal Rule of Criminal Procedure 17(c) authorizes a party to issue a

subpoena duces tecum for the production of documents in court prior to trial for

inspection by the parties and their attorneys. Fed. R. Crim. P. 17(c).

      “The court (other than a magistrate judge) may hold in contempt a witness

who, without adequate excuse, disobeys a subpoena issued by a federal court in

that district.” Fed. R. Crim. P. 17(g). “The concept that citizens have a duty to assist

in enforcement of the law is at least in part the predicate of Fed. Rule Crim. Proc.

17, which clearly contemplates power in the district courts to issue subpoenas

duces tecum to nonparty witnesses and to hold noncomplying nonparty witnesses

in contempt.” United States v. New York Telephone Co., 434 U.S. 159, 175, n. 24, 98 S.

Ct. 364, 54 L. Ed. (2d) 376 (1977).

      “A court of the United States shall have power to punish by fine or

imprisonment, or both, at its discretion, such contempt of its authority, and none

other, as … [d]isobedience or resistance to its lawful writ, process, order, rule,

decree, or command.” 18 U.S.C. § 401.




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      “An unwarranted attempt to obstruct a court in the performance of its duty

to do justice by a witness’ failing to obey a lawful subpoena is met with an exercise

judicially of the power constitutionally to punish for contempt.” United States v.

Williams, 557 F. Supp. 616, 623-24 (E.D. Tenn. 1982) (citation omitted).

      T-Mobile failed to produce the requested documents in compliance with this

Court’s subpoena, and it has failed to file a motion to quash or modify the

subpoena as required by Fed. R. Crim. P. 17(c)(2), rather than simply objecting and

failing to produce.

      The defense has prepared a proposed Order for nonparty T-Mobile to show

cause why it should not be held in contempt for failing to comply with this Court’s

subpoena. (See attached Order to Show Cause).



      WHEREFORE, Defendant moves this Honorable Courtfor an Order to

Show Cause why nonparty T-Mobile should not be held in contempt for failing to

produces documents in compliance with a subpoena issued by this Court.




      Respectfully submitted,

      /s/Mark H. Magidson
      MARK H. MAGIDSON(P25581)


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      Attorney for Defendant
      The David Whitney Bldg
      One Park Avenue, Suite 1207
      Detroit, MI 48226
      (313) 963-4311
      mmag100@aol.com


      Dated: March 9, 2023




                              Certificate of Service

            I certify that on March 9, 2023, I electronically filed the above Motion

      with the Clerk of the Court using the CM/ECF system, which served the

      document(s) to the parties of record.

            I further certify that on March 9, 2023, I served, via U.S. mail, the

      above Motion to John Jezek, Subpoena Compliance Specialist, T-Mobile

      Legal Compliance, at 4 Sylvan Way, Parsippany, NJ07054.

            I further certify that I emailed the motion to T Mobile at

      LER2@T-Mobile.com.

      /s/Mark H. Magidson
      MARK H. MAGIDSON(P25581)
      Attorney for Defendant




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                                                      EXHIBIT             A
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Law Enforcement Relations
4 Sylvan Way, Parsippany, N.J. 07054
Email: lerinbound@t-mobile.com
Phone: (973) 292-8911 Fax: (973) 292-8697                                                                                                                   February 27, 2023
_______________________________________________________________________________________________________________________________________________________________________________________

T-Mobile Tracking ID: 4272843


                                                                                      Objection
T-Mobile hereby objects to the referenced legal demand and is unable to respond to your request for the
following reason(s):

    In regard to identifier(s) 3137421482, The legal demand does not include a date range. Subscriber
    information for the issue date has been provided. If additional information is required, please resubmit
    the demand to include a reasonable date range.

Notwithstanding the above objections, and without waiving same, T-Mobile may also object to the
referenced legal demand for one or more of the following reason(s):
a) failure of personal service; b) lack of personal jurisdiction; c) demand is facially invalid; d) demand
is overbroad, unduly burdensome and/or not refined in scope or date range; e) demand does not provide
reasonable time for response; f) demand seeks electronic records that are not readily accessible; and/or
g) demand seeks records that are not stored or maintained by T-Mobile.
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                                                      EXHIBIT              B
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  From:    MMag100@aol.com
Subject:   USA v Jackson
   Date:   March 6, 2023 at 2:05 PM
     To:   LER2@T-Mobile.com ler2@t-mobile.com
    Cc:    Eric Tang attyerictang@mac.com


       T-Mobile,

       To be clear, we are seeking the same material that was provided to the Government.

       With regards to the date ranges, there were 18 contacts with Jackson’s phone with
       another FBI-OCGVCTF investigation from 09/10/2018 through 10/15/2018. We
       requested any/all data provided to LE from this separate Title III investigation,
       which was prior to the armed robberies.

       The date ranges from the Governments warrants span from 11/25/2018 through
       12/29/2018…the tower dump warrant was signed on, or about, 01/09/2019.

       The second warrant dated 04/24/2019, signed by Christopher McClain, was
       served on T-Mobile. T-Mobile provided the Government a response to both of
       these warrants.

       I trust this clears up any ambiguity. Thank you.



       Mark H. Magidson, Esq.
       1 Park Avenue, Suite 1207
       Detroit, MI 48226
       313-963-4311
       Fax 313-995-9146
       mmag100@aol.com
